        7:18-cr-00675-CRI        Date Filed 11/16/18        Entry Number 7      Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                SPARTANBURG DIVISION

UNITED STATES OF AMERICA                             )         CRIMINAL NO.: 7:18cr675
                                                     )
               vs.                                   )
                                                     )
STACY HUGH JOHNSON                                   )


                                  NOTICE OF APPEARANCE


       Maxwell B. Cauthen, III, Assistant United States Attorney, hereby gives notice to this Court

and to the defendant that he is counsel for the United States in the above-captioned case.



                                                         Respectfully submitted,

                                                         SHERRI A. LYDON
                                                         UNITED STATES ATTORNEY




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